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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr26
                                     )
CHISTOPHER ALBERTS,                  )
      Defendant.                     )
____________________________________)

                       AMENDED CONSENT MOTION TO WITHDRAW

       Comes now John C. Kiyonaga, counsel for Defendant Christopher Alberts, and amends

Defendant’s earlier Motion to Withdraw (Doc 20).

       In the absence of an executed CJA – 21 for the Court’s consideration, undersigned

withdraws the earlier request that Defendant be appointed replacement counsel and simply

requests of the Court that undersigned be allowed to withdraw as counsel for Defendant for the

reason stated in his initial motion.

        Counsel for the Government does not object to this amended motion.

                                                      Respectfully Submitted,

                                                      _____/s/____________
                                                      John C. Kiyonaga
                                                      600 Cameron Street
                                                      Alexandria, Virginia 22314
                                                      Telephone: (703) 739-0009
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                                                      E-mail: john@johnckiyonagaa.com

                                                      Counsel for the Defendant

                                  Certificate of Electronic Service

       I hereby certify that on July 23, 2021, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.
                                                       ____/s/_____________
                                                       John C. Kiyonaga



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